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 AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                          Central District of California


                    United States of America                            ~

                                   v                                   ) Case No. Z ~ Z ~~ V"~ U ~D ~~

                              Defendant


                                        ORDER OF DETENTION PENDING TRIAL

                                                        Part I -Eligibility for Detention

      Upon the

               O     tion of the Government attorney pursuant to 18 U.S.C. § 3142(fl(1), or
                   Motion ofthe Government or Court's own motion pursuant to 18 U.S.C. § 3142(fl(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's
                                                                                                            findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(1), in addition to any other findings made at the
                                                                                                          hearing.
                             Part II -Findings of Fact and Law as to Presumptions under § 3142(e)

  ~ A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2)(prevr'ous violaror): There is a
                                                                                                       rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any
                                                                                                           other person
    and the community because the following conditions have been met:
        O (1)the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(fl(1):
             O(a)a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
               § 2332b(g)(5)(B) for which a maximum term of imprisonment of ]0 years or more is prescribed;
                                                                                                                    or
             Q(b)an offense for which the maximum sentence is life imprisonment or death; or
             Q(c)an offense for which a maximum term of imprisonment of 10 years or more is prescribed
                                                                                                               in the
               Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and Export
                                                                                                                     Act
              (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508);
                                                                                                            or
             Q(d)any felony if such person has been convicted of two or more offenses described in
                                                                                                        subparagraphs
              (a)through (c) of this paragraph, or two or more State or local offenses that would have been
                                                                                                                offenses
               described in subparagraphs(a)through (c)of this paragraph if a circumstance giving rise to Federal
               jurisdiction had existed, or a combination of such offenses; or
             ~(e) any felony that is not otherwise a crime of violence but involves:
              (i) a minor victim;(ii) the possession of a firearm or destructive device (as defined in 18 U.S.C.
                                                                                                                  § 921);
              (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
        Q (2)the defendant has previously been convicted of a Federal offense that is described in
                                                                                                      18 U.S.C.
          § 3l 42(fl(1), or of a State or local offense that would have been such an offense if a circumstan
                                                                                                             ce giving rise
          to Federal jurisdiction had existed; and
        O (3)the offense described in paragraph(2)above for which the defendant has been convicted
                                                                                                          was
          committed while the defendant was on release pending trial for a Federal, State, or local offense;
                                                                                                               and
       O (4)a period of not more than five years has elapsed since the date of conviction, or
                                                                                                the release ofthe
          defendant from imprisonment, for the offense described in paragraph (2J above, whichever is later.


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    D B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3)(narcotics,frrearm, other ohenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
           O (1)an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
             Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act(21
             U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508);
          Q (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
          Q (3)an offense listed in l 8 U.S.C. § 2332b(g)(5)(B)for which a maximum term of imprisonment of 10 years
             or more is prescribed;
          O (4) an offense under Chapter 77 of Title 18, U.S.C.(18 U.S.C. §§ 1581-1597) for which a maximum term
                                                                                                                       of
             imprisonment of 20 years or more is prescribed; or
          Q (5)an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(l), 2245,
             225], 2251 A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(
                                                                                                                   4),
             2260, 2421, 2422, 2423, or 2425.

   Q C. Conclusions Regarding Applicability of Any Presumption Established Above

            O The defendant has not introduced sufficient evidence to rebut the presumption above, and detention
                                                                                                                 is
              ordered on that basis. (Parr ~~~ need nor be ~omplered.)

                ~I ;

            O The defendant has presented evidence sufficient to rebut the presumption, but after consideri
                                                                                                            ng the
              presumption and the other factors discussed below, detention is warranted.

                                  Part III -Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented
                                                                                                  at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the
                                                                                   Government has proven:

   Q By clear and convincing evidence that no condition or combination of condition
                                                                                    s of release will reasonably assure
     th safety of any other person and the community.

     By a preponderance of evidence that no condition or combination of condition
                                                                                  s of release will reasonably assure
      e defendant's appearance as required.

In addition to any findings made on the record at the hearing, the reasons for
                                                                               detention include the following:

      O Weight of evidence against the defendant is strong
      l Subject to lengthy period of incarceration if convicted
      7
      O Prior criminal history
      Q Participation in criminal activity while on probation, parole, or supervision
      ~ History of violence or use of weapons
      O History of alcohol or substance abuse
      Q Lack of stable employment
      Q L    of stable residence
        Lack of financially responsible sureties



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          Q Lack of significant community or family ties to this district
             i nificant family or other ties outside the United States
                k of legal status in the United States
            Subject to removal or deportation after serving any period of incarceration
            Prior failure to appear in court as ordered
         I~ Prior attempts) to evade law enforcement
         O Use of aliases) or false documents
         O Background information unknown or unverified
         Q Prior violations of probation, parole, or supervised release

 OTHER REASONS OR FURTHER EXPLANATION:                               `(
                                                                                    ~~
              ~~~~~~~ r ~~
                ~~ ~
                   ~ ~~    ~~                                                                                 ~~

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                                                 Part IV -Directions Regarding Detention

The defendant is remanded to the custody ofthe Attorney General or to the
                                                                               Attorney General's designated representative for
confinement in a corrections facility separate, to the extent practicable, from
                                                                                 persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be affor ed a
                                                                         reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or         request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant a United
                                                                            States Marsh         e urpose of an appearance in
connection with a court proceeding.

Date:
                                                                             United States Magistrate Judge




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